     Case 1:16-cr-00221-RWS Document 224 Filed 02/08/19 Page 1 of 20


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           - against-                                                16 Cr . 221                             (RWS)


ASHRAF HASAN-HAFEZ ,                                                           SENTENCING
                                                                               OPINION

                            Defendant.

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Sweet, D.J.



                On March 16, 2018, Ashraf Hasan-Hafez

("Defendant " or "Hasan-Hafez") pleaded guilty to one count of

conspiring to commit health care fraud in violation of 18 U. S.C.

§ 1 349 and one count of health care fraud in violation of 18

U.S.C. § 1347 . Based on the conclusions set forth below, Hasan -

Hafez will be sentenced to 55 months '    imprisonment, subject to

the scheduled sentencing hearing on February 1 2, 201 ~ .



Prior Proceedings



           Hasan - Hafez was named in a two-count superseding

indictment filed in the Southern District of New York on

February 14 , 2018. Count One charges that from at least January

                                    1
             Case 1:16-cr-00221-RWS Document 224 Filed 02/08/19 Page 2 of 20
'•'




      2010 through August 20 13, Hasan-Hafez and others conspired t o

      commit health care fraud,      in v i olation of 18 U. S .C. § 1347, by

      executing a scheme to defraud the health care benefit programs

      Medicare and Medicaid in connection with the delivery of and

      payment for health care benefits, items, and services. Count Two

      charges that from at least January 2010 through August 2013, in

      the Southern District of New York and elsewhere, Hasan-Hafez, in

      order to fraudulently obtain payments from Medicare and Medicaid

      to which he was not entitled, submitted numerous false claims

      and supporting documentation for physical therapy services and

      related medical items purportedly provided to beneficiaries by

      qualified persons, but were instead provided by unlicensed,

      unsupervised or otherwise unqualified persons, or were billed to

      reflect different or additional services than those that were

      actually provided.



                     On March 16, 2018 , Kogan appeared before this Court

      and pleaded guilty to his criminal conduct as charged, pursuant

      to a written plea agreement .



                     Hasan-Hafez is scheduled to be sentenced on February

      1 2 , 2019 .




                                           2
       Case 1:16-cr-00221-RWS Document 224 Filed 02/08/19 Page 3 of 20




The Sentencing Framework



                In     accordance       with    the      Supreme      Court ' s         decision        in

United        States    v.   Booker ,    543    U. S .      220    (2005),        and    the    Second

Circuit 's decision in United States v . Crosby,                             397 F.3d 103               (2d

Cir.    2005) ,        the   sentence     to    be       imposed     was      reached          through

consideration of all             of the        factors       identified in              18   U. S. C.    §


3553(a), including the Advisory Guidelines. Thus, the sentence to

be imposed here is the result of a consideration of:


       (1)      the nature and circumstances of the offense and the
                history and characteristics of the defendant;

       (2)      the need for the sentence imposed -

                (A)     to reflect the seriousness of the offense , to
                        promote respect for the law, and to provide
                        just punishment for the offense;

                (B)     to afford        adequate        deterrence          to     crimina l
                        conduct ;

                (C)     to protect the public from further crimes of
                        the defendant; and

                (D)     to   provide   the  defendant   with  needed
                        educational or vocational training , medical
                        care, or other correctional treatment in the
                        most effective manner ;

       (3)      the kinds of sentences available ;

       ( 4)     the kinds of sentence                 and    the    sentencing           range
                established for -

                (A)     the applicable category of offense committed
                        by the applicable category of defendant as set
                        forth in the guidelines      .,

                                                3
      Case 1:16-cr-00221-RWS Document 224 Filed 02/08/19 Page 4 of 20




       (5)    any pertinent policy statement [issued by the
              Sentencing Commission];

       ( 6)   the   need   to avoid   unwarranted   sentence
              disparities among defendants with similar
              records who have been found guilty o f similar
              conduct ; and

       (7)    the need to provide restitution to any victims of
              the offense.


18 U.S.C. § 3553(a). A sentencing judge is permitted to find all

the   facts   appropriate   for   determining a    sentence,   whether   that

sentence is a so-called Guidelines sentence or not.             See Crosby,

397 F.3d at 114-15.



The Defendant


              The Court adopts the facts set forth in the

Presentence Investigation Report          ("PSR") with respect to the

Defendant's personal and family history.



The Offense Conduct



              The Court adopts the facts set forth in the PSR with

respect to the of fense conduct . These facts are summarized, in

brief for m, below.




                                      4
     Case 1:16-cr-00221-RWS Document 224 Filed 02/08/19 Page 5 of 20




          The investigation that led to Hasan-Hafez's indictment

was conducted by the Fe dera l Bureau of Investigation ("FBI") and

the Office of Inspector General of the U.S. Department of Health

and Human Services ("HHS-OIG").



          Medicare is a federal health care program that

provides benefits . to persons who are over the age of 65 or

disabled. Medicaid is a program funded by both the federal

government and the State of New York that provides benefits to

individuals and families who meet financial and other

el ig ibi lit y requirements. Individuals can qualify as both

Medicare and Medicaid beneficiaries in the event that they met

the eligibility requirements for both programs. Medicare and

Medicaid are each considered "hea lth care benefit programs," as

defined by 1 8 U.S.C. § 24(b) .



          One component of Medicare, referred to as "Part B,"

covers the cos ts of physicians' services and outpatient care,

such as physical therapy, occupat i onal therapy , and diagnostic

tests. Medicare covers those costs only if, among other

requirements, they are medically necessary and ordered by a

physician. Medicaid has similar requirements.




                                   5
     Case 1:16-cr-00221-RWS Document 224 Filed 02/08/19 Page 6 of 20




          Under the Medicare and Medicaid regulations, a medical

provider is permitted to submit reimbursement c laims for

services actually rendered and is required to maintain patient

records verifying the provision of services. By submitting the

c laim, the provider is certifying that the services were

rendered to the patient and were medically necessary. In

addition, for a provider to obtain reimbursed for a medic a l

service, including physical therapy, from Medicare and/or

Medicaid, the provider must complete a "Superbill." The

Superbill contains specific "procedure codes" and "diagnosis

codes" that correspond to the services rendered by the provider.

A Superbill also conta ins the number of "billing units"

corresponding to each procedure code , i.e., the amount of time

the physical therapy provider spent performing different types

of physical therapy on a patient. Medicare and Medicaid

reimburse different procedure codes at different rates of

reimbursement, and the reimbursement amount increases as the

number of billing units increases. Medicare and Medica id

regulations also require providers seeking reimbursements to

accurately and completely document beneficiaries' medical

records, thus creating what are known as "patient notes." The

programs may request these patient notes as backup documentation

in order to support a particular reimbursement claim or in the

event of an audit.

                                   6
     Case 1:16-cr-00221-RWS Document 224 Filed 02/08/19 Page 7 of 20




          Acupuncture is not considered a medically necessary

service, and Medicare reimbursement for acupuncture may

therefore n ot be made. Acupuncture is on ly reimbursed by

Medicaid in New York City in very rare circumstances. Under

Medicare and Medicaid, physical therapy may only be administered

by individuals that have received the appropriate li censes to

provide these services to patients, and claims submitted for

physical therapy that were administered by individuals la cking

the appropriate license will not be reimbursed.



          A Small Business Administration l oan application

submitted on December 9, 2010 on behalf of Hasan-Hafez and his

co -defendant Ilya Kogan ("Kogan") revealed that Hasan-Hafez was

the listed owner of a physical therapy practice, Excel len t Care

Physical Therapy, P.C., which operated at 1684 East 1 8th Street

in Brooklyn. Kogan was the owner of an acupuncture company,       Zen

Acupuncture, which also operated its practice out of the East

18th Street clinic and shared space with Hasan-Hafez's physical

therapy clinic.



          In early 20 1 2 , the FBI and the HHS-OIG began an

investigation involving the East 18th Street clinic after

receiving an anonymous letter asserting that the clinic was

                                   7
     Case 1:16-cr-00221-RWS Document 224 Filed 02/08/19 Page 8 of 20




engaging in fraud by performing services, including acupuncture,

which were not covered by Medicare, and then submitting Medicare

reimbursement claims falsely stating that covered services had

in fact been provided.



           Throughout the investigation, case agents learned that

Kogan ran the clinic on a day-to-day basis, served as the head

acupuncturist at the clinic , and had employees who reported to

him. Agents also learned through conf i dential witnesses that the

services provided at the clinic were predominantly massage

therapy and acupuncture. The staff at the clinic included a

part-time doctor or physician 's ass istant who provided referrals

and who, on occasion , worked on premises. Whenever a patient

arrived at the clin ic without an order or referral for physical

therapy from an outside doctor, the patient was directed to this

doctor or physician's assistant , who then wrote a prescription

for physica l therapy and indicated it as the necessary

treatment. The doctor or physician 's assistant would then direct

the patient to the acupuncturist or physical therapist. The

clinic required patients to see this doctor or physician's

assistant roughly once each month, regardless of need, in order

to continue receiving massage and/or acupuncture services from

the clinic .



                                   8
     Case 1:16-cr-00221-RWS Document 224 Filed 02/08/19 Page 9 of 20




          Shortly after beginning employment at the clinic as a

licensed physical therapist, one of the confidential witnesses

("CW-1" ) was instructed by a member of the clinic's billing

department to sign a National Provider Identifier application.

CW-1 was informed by Hasan-Hafez that the clinic 's practice

would not be billed to Medicare and Medicaid under CW-l's

individual name, but rather under the clinic 's group provider

number. However, Medicare and Medicaid billing records reveal

that the clinic actually liste d CW-1 as the rendering provider

for a signification portion o f the billing from the clinic.

Additionally, CW -1 received pressure from Kogan to add

information to Superbills and patient notes indicating that

physical therapy services were provided to patients that were ,

in fact, never provided. Kogan informed CW-1 that the clinic

needed to add those additional procedure codes to the Superbills

because the clin ic was struggling and needed money. Kogan also

instruct ed CW -1 to add additional billing units to the

Superbills and corresponding patient notes to reflect that CW-1

had spent more time providing physical therapy to a given

patient than had, in actuality, been provided. Kogan further

directed CW-1 to complete patient notes and Superbills for

patients who solely received acupuncture to instead reflect that

the patients had received physical therapy.



                                   9
    Case 1:16-cr-00221-RWS Document 224 Filed 02/08/19 Page 10 of 20




          Around February 2013, the clinic ran an advertisement

in a Russian newspaper with circulation in New York City. The

advertisement included a photograph of Kogan and identified him

as an acupuncturist at the clinic. CW-1 was only referenced in

at the end of the advertisement, in a section titled "Also

Working Here" that identified CW-1 as a physical therapist. The

advertisement also featured comments from two patients regarding

the acupuncture that they had received from Kogan. It did not

contain any patient commentary regarding physical therapy. The

advertisement indicated that the clinic offered transportation

for patients in all five boroughs of New York City.



          Several patients interviewed as part of the

investigation indicated that they had received acupuncture from

Kogan at the clinic. However, records revealed that the clinic

submitted Medicare reimbursement claims for these patients

listing procedure codes for physical therapy rather than

acupuncture. Hasan-Hafez, among others, certified that such

physical therapy services were provided to these patients. The

clinic billed Medicaid and Medicare for these purported physical

therapy treatments and received thousands of dollars in

reimbursements. In addition, the investigation revealed that

some patients had received physical therapy treatment by an

employee of the clinic who was not licensed in New York to

                                  10
    Case 1:16-cr-00221-RWS Document 224 Filed 02/08/19 Page 11 of 20




provide physical therapy. Although treatment by unlicensed

physical therapists is not entitled to reimbursement under

Medicare or Medicaid, the clinic billed the programs for these

physical therapy services and subsequently received

reimbursements for such services. Hasan-Hafez certified that

such physical therapy services were provided to these patients.



          The case agent also interviewed an employee

("Individual-1") of a company ("Consulting Cornpany-1") that

assists health care providers with the process of submitting

bills to Medicare. According to Individual-1, in approximately

2008 or 2009, Consulting Company-1 and Individual-1 began

providing billing services to Kogan for Kogan's acupuncture

practice. When Kogan later began operating the East 18th Street

clinic, Kogan asked Individual-1 to provide billing services for

the clinic as well. According to Individual-1, all of the

billing from the clinic was to Medicare and Medicaid, with the

exception of one single patient who was billed to private

insurance. The clinic billed under the name of Hasan-Hafez's

physical therapy company, Excellent Care. Hasan-Hafez generally

visited Individual-1 at Consulting Company-l's offices on a

monthly basis to make payments for the billing services being

provided. Individual-1 also personally visited the East 18th

Street clinic to pick up the clinic's Superbills.

                                 11
     Case 1:16-cr-00221-RWS Document 224 Filed 02/08/19 Page 12 of 20




            According to information furnished by the Government ,

Hasan-Hafez and Kogan are responsible for total intended losses

to Medicare and Medicaid amounting betwee n $1,500 , 000 and

$3 , 500 , 000 . The actual loss was ca l cu l ated to be $1 , 297 , 000.

Additionally , Hasan-Hafez and Kogan were both determined to play

managerial roles in the offense by virtue of their positions at

the clinic and their oversight over employees and the billing

procedures . For examp l e , employees who raised with Hasan-Hafez

their concerns about the clinic ' s fraudulent billing were

directed to follow Kogan ' s instructions .



The Relevant Statutory Provisions



            For the offenses contained in Counts One and Two of

the Superseding Indictment, to which Hasan - Hafez pleaded guilty ,

the maximum term is ten years each. 18 U. S . C . §§ 1347, 1349. The

maximum f i ne is $2 , 594 , 000 per count.   Id . A total special

assessment of $100 per count is mandatory.          Id . § 3013 . The Court

may impose a term of supervised release of not more than three

years per count. Id. § 3583(b) (2) . The Defendant is eligible for

not l ess than one nor more than five years' probation per count

because the offenses are Class C felonies.          Id . § 356l(c) (1).

Restitution sha ll be ordered in this case pursuant to 18 U.S.C.

                                      12
     Case 1:16-cr-00221-RWS Document 224 Filed 02/08/19 Page 13 of 20




§ 3663A. Restitution is owed to Med i care i n the a mount of

$1 , 073 , 264 and to Medicaid in the amount of $223 , 736 . I d .



The Guidelines



           The November 1 , 2016 edition of the United States

Sentencing Commission Guidelines Manual , incorporating all

Guide l ine amendments , applies to the offenses charged . U. S . S.G.

§1B 1.1 1 . Pursuant to §3Dl . 2(a) and (d) of the Guidelines , all

counts are grouped together for purposes of ca l cu l ating the

applicable Gu i de l ines range.



            When a conspiracy is express l y covered by another

offense Guideline , that Guidel i ne should be app l ied . Id .

§2Xl . l(c) (1). The Guideline for a violation of Health Care

Fraud , 18 U.S.C. § 1347 , is found in §2B1 . l . Pursuant to that

Section , the base offense level is six . Id . §2B1 .l (a) (2) .

Because the attempted loss caused by the Defendant ' s criminal

conduct amounted to between $1 , 500 , 000 and $3 , 500 , 000 , a

sixteen- level enhancement is app li cable . Id . § 2B 1. l(b) (1) (I) . A

two - leve l increase is likewise warranted because the offenses of

conviction were federal health care offenses invo l ving a

Government health care program and the loss amount unde r

subsection (b) (1) was more than $ 1 ,000 , 000 . Id . §2B1 . l(b) (7) . An

                                    13
    Case 1:16-cr-00221-RWS Document 224 Filed 02/08/19 Page 14 of 20




additional three-level enhancement applies because Hasan-Hafez

was a manager or supervisor and the offenses of conviction

involved five or more participants or was otherwise extensive.

Id. §3B1.l(b). The Defendant has clearly demonstrated acceptance

of responsibility for the offenses, and a two-level sentence

reduction therefore applies. Id . §3El .l (a). The offense level is

decreased by one additional level because the Defendant has

assisted authorities in the investigation or prosecution of his

own misconduct by timely notifying authorities of the intention

to enter a plea of guilty . §3El .l (b) . Accordingly, the total

offense level is 24 .



          The Defendant has no criminal history points and a

corresponding Criminal History Category of I. Id. §4Al.l(d).



          Based upon the calculations set forth above , the

Defendant ' s Guidelines imprisonment range is 51 to 63 months.

Id. As the offenses are Class C felonies,     the Guidelines range

for a term of supervised release is one to three years per

count . Id. §5Dl.2(a) (2). Since the applicable Guideline range is

in Zone D of the Sentencing Table , Hasan-Hafez is ineligible for

probation . Id. § 5B1 . 1 , comment n.2. The fine range for these

offenses is from $10,000 to $5,188,000. Id. §5El . 2.



                                  14
     Case 1:16-cr-00221-RWS Document 224 Filed 02/08/19 Page 15 of 20




           Costs of prosecution shall be imposed on Defendant as

required by statute . I d . §5E l. 5 . In determi n ing whet h er t o

impose a fine and the amount of such fine , the Court shall

cons i der , among other factors , the expected costs to the

Government of any term o f probation , or term o f i mprisonment and

term o f supervised release imposed . Id . §5 El . 2(d) (7) and 18

U. S.C. §3572(a) (6) . These costs may include drug and alcoho l

treatment , electronic monitoring , and/or con t ract confinement

costs . The most recent advisory from the Admin i strative Office

of the U. S . Courts , dated August 1 , 2018 , provides a da i ly cost

of $99, a month l y cost of $3 , 025 , and an annual cost of $36 , 300

for i mprisonment .



The Remaining Factors of 18 U . S . C . § 3553(a)



           Having engaged i n t he Guidelines analysis , this Court

also g i ves due consideration to the remaining factors identified

in 18 U. S . C. § 3553(a) to impose a sentence "sufficient , but not

greater than necessary, " as is required by the Supreme Court ' s

decision in Booker , 543 U.S. 220 , and the Second Ci rcuit ' s

decision in Crosby , 397 F. 3d 103 . In li ght of the Court ' s

statu t ory respons i bi l ity "to ' impose a sentence suff i cient , but

not greater than necessary '     to accomplish the goals of

sentencing , " Kimbrough v. United States,      552 U.S . 85, 102       (2007)

                                     15
     Case 1:16-cr-00221-RWS Document 224 Filed 02/08/19 Page 16 of 20




(quoting 18 U.S.C. § 3553(a)) , having considered the Guidelines

and all of the factors set forth in§ 3553(a) , and having

reviewed the PSR, the Court will impose a sentence within the

Guidelines range.



The Sentence



     For the instant offenses, Ashraf Hasan-Hafez shall be

sentenced to 55 months' imprisonment. The term of imprisonment

shall be followed by three years of supervised release on each

count, to run concurrently . 1 8 U.S.C. § 3624(e) . As manda to r y

conditions of his supervised release, the Defendant shall:


     (1)   Not commit another federal,    state, or local crime.

     (2)   Not unlawfully possess a contro lled substance.

     (3)   Refrain from any unlawful use of a contro lled
           substance. Defendant must submit to one drug test
           within 15 days o f release from imprisonment and at
           least two periodic drug tests thereafter, as
           determined by the Court.

     (4)   Cooperate in the collection of DNA, as directed by the
           probation officer .


     The standard conditions of supervision (1-1 3) apply with

the following special conditions :



     (1)   The Defendant shall be supervised by the district of
           residence.

                                  16
     Case 1:16-cr-00221-RWS Document 224 Filed 02/08/19 Page 17 of 20




     (2)   The Defendant must submit his person , residence , place
           of business , vehicle, and any property or electronic
           devices under his control to a search on the basis
           that the probation officer has reasonable suspicion
           that contraband or evidence of a violation of the
           conditions of the Defendant ' s probation/supervised
           release may be found . The search must be conducted at
           a reasonable time and in a reasonab l e manner . Failure
           to submit to a search may be grounds for revocation.
           The Defendant must inform any other residents that the
           premi ses may be subject to search pursuant to this
           condition .

     (3)   Un l ess in compliance with the installment payment
           schedule , the Defendant must not incur new credit
           charges or open additional lines of credit without the
           approval of the probation officer.

     (4)   The Defendant must provide the probation off i cer with
           access to any requested financial information.


           The Court finds that the following agencies have

suffered injuries compensable under the Victim and Witness

Protection Act in the amounts indicated :



           Victim                               Amount of Loss

           Medicare                             $1,073 , 264

           Medicaid                             $223,736

           Total                                $1,297,000



           Forwarding addresses and contacts to whom payments

should be sent has not been furnished by the Government to date.

If necessary, receipt of this information may be deferred for a


                                  17
    Case 1:16-cr-00221-RWS Document 224 Filed 02/08/19 Page 18 of 20




maximum of 90 days after sentencing, in accordance with 18

U.S.C. § 3664(d) (5) and (e) . It is ordered that the Defendant

make restitution to such agencies totaling $1,297,000, except

that no further payment shall be required after the sum of the

amounts actually paid by all defendants has fully covered all of

the compensable injuries. Any payment made by the Defendant must

be divided among the persons named in proportion to their

compensable injuries.



          If the Defendant is engaged in a BOP non-UNICOR work

program, he must pay $25 per quarter toward the criminal

financial penalties. However, if the Defendant participates in

the BOP's UNICOR program as a grade 1 through 4, he must pay 50%

of his monthly UNICOR earnings toward the criminal financial

penalties, consistent with BOP regulations at 28 C.F.R. §545.11.

Any payment made that is not payment in full shall be divided

proportionately among the persons named. The balance of the

restitution must be paid in monthly installments of 20-percent

of gross monthly income over a period of supervision to commence

30 days after the date of the judgment or the release from

custody if imprisonment is imposed. The Defendant must notify

the United States Attorney for this district within 30 days of

any change of mailing or residence address that occurs while any

portion of the restitution remains unpaid.

                                  18
    Case 1:16-cr-00221-RWS Document 224 Filed 02/08/19 Page 19 of 20




             The Defendant must forfeit to the United States his

interest in all property that constituted or was derived from

any proceeds obtained as a result of the offenses, including but

not limited to a total of $1, 2 97,000 in U.S. currenc y , and for

which he is jointly and severally liable.



             It is further ordered that the Defendant shall pay to

the United States a special assessment of $200, which shall be

due immediately.



             In light of the significant amount of restitution owed

and the forfeiture order that will be imposed in this case, the

Court concludes that the Defendant does not have the ability to

pay a fine. The fine has therefore been waived in this case.



             The Defendant is a g ood candidate for v o luntary

surrender. He has kept all court appearances and has been in

compliance with all terms and conditions of his pretrial

release. He is not viewed as a flight risk or danger to the

community.




                                   19
     Case 1:16-cr-00221-RWS Document 224 Filed 02/08/19 Page 20 of 20




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February 7,
New York, NY
                2019                     ~
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